Case 2:22-cv-12696-GAD-KGA ECF No. 19, PageID.403 Filed 01/30/23 Page 1 of 2


                                                D. G. SWEIGERT, PRO SE, C/O,
                                                         MAILBOX, PMB 13339
                                          514 Americas Way, Box Elder, SD 57719
                                                   Spoliation-notice@mailbox.org
January 30, 2023

                                               CASE #: 4:22-cv-12696-GAD-KGA

TO THE CLERK OF THE COURT
U.S. District Court
Eastern District of Michigan
231 W. Lafayette Blvd.
Detroit, MI 48226


SUBJ: Submission of $402.00 money order


TO THE CLERK:




 Sincerely,


                                          1
Case 2:22-cv-12696-GAD-KGA ECF No. 19, PageID.404 Filed 01/30/23 Page 2 of 2


Arkan Choukair

Supv Customer Services



1401 W Fort Street, Detroit, MI, 48233,
(313) 225 5407.




                     The undersigned apologies for this oversight.




                                          2
